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    7
    8
    9                      UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
  12 Bureau of Consumer Financial Protection;      Case No. 8:19-cv-01998-JVS (JDEx)
     State of Minnesota, by its Attorney
  13 General, Keith Ellison; State of North        PRELIMINARY REPORT OF
     Carolina, ex rel. Joshua H. Stein, Attorney   TEMPORARY RECEIVER
  14 General; and The People of The State of
     California, Michael N. Feuer, Los Angeles     JUDGE:     Hon. James V. Selna
  15 City Attorney,                                CTRM:      10C
  16                     Plaintiffs,
  17         v.
  18 Consumer Advocacy Center Inc., d/b/a
     Premier Student Loan Center; True Count
  19 Staffing Inc., d/b/a SL Account
     Management; Prime Consulting LLC,
  20 d/b/a Financial Preparation Services;
     Albert Kim, a/k/a Albert King; Kaine
  21 Wen, a/k/a Wenting Kaine Dai, Wen Ting
     Dai, and Kaine Wen Dai; and Tuong
  22 Nguyen, a/k/a Tom Nelson,
  23                     Defendants, and
  24 Infinite Management Corp., f/k/a Infinite
     Management Solutions Inc.; Hold The
  25 Door, Corp.; and TN Accounting Inc.,
  26                     Relief Defendants.
  27
  28
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    1                                           I.
    2                                    INTRODUCTION
    3        I was appointed Temporary Receiver for the business activities of
    4 Receivership Defendants True Count Staffing Inc., d/b/a SL Account Management
    5 (“True Count”) and Prime Consulting LLC, d/b/a Financial Preparation Services
    6 (“Prime Consulting”) by the Temporary Restraining Order (“TRO”) entered
    7 October 21, 2019. 1 Defendant Consumer Advocacy Center Inc., d/b/a Premier
    8 Student Loan Center (“CAC”), which is in bankruptcy, is not a Receivership
    9 Defendant. Albert Kim, Kaine Wen, and Tuong Nguyen are named Individual
  10 Defendants.
  11         By this Preliminary Report, I convey to the Court my team’s preliminary
  12 observations and initial actions.
  13         Our onsite review of operations has identified the basic realities of the
  14 student loan debt relief business of Receivership Defendants:
  15            • The overall enterprise secured more than 170,000 customers and more
  16               than $71 million in gross revenue. But, 70% of these customers
  17               cancelled their enrollments. See Exhibit 1.
  18            • Historically, the sales process to secure consumers with student loan
  19               debt relief has included hard sell tactics and misrepresentations
  20               prohibited by the TRO which have misled and confused consumers.
  21            • Beginning in late August 2019, Defendants pivoted to a more
  22               compliant process, but based on recent documents and consumer
  23    1
       Receivership Defendants are defined in the TRO to mean True Count and Prime
  24 Consulting “and their successors, assigns, affiliates, or subsidiaries, and each of
     them, by whatever names each may be known, provided that the Receiver has
  25 reason to believe they are owned or controlled in whole or in part by any of the
     Receivership Defendants.” See TRO, Definitions, pages 6-7.
  26
     On October 25, 2019, pursuant to Section XIII(T) of the TRO we gave notice to
  27 the parties that First Priority LLC, Horizon Consultants LLC, and TAS 2019 LLC
     d/b/a Trusted Account Services qualify as Receivership Defendants. No party has
  28 challenged that determination.
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    1               complaints, this pivot was not comprehensive and, of course, it did not
    2               remedy prior unlawful practices.
    3             • Defendants collect consumer fees in advance without complying with
    4               the Telemarketing Sales Rule, which renders the entire business
    5               unlawful. The August 2019 pivot included representations that fees
    6               would be deposited to a “dedicated customer account” at third party
    7               Trusted Account Services and only paid out when work was
    8               completed. But, this appears to be a new deception designed to create
    9               the appearance of a procedure consistent with the Telemarketing Sales
  10                Rule “escrow exception” to the advance fee prohibition. Not only is
  11                 Trusted Account Services not an independent third party, I have
  12                 determined that it is a Receivership Defendant.
  13                                           II.
  14                            RECEIVERSHIP ACTIVITIES
  15         A.      Immediate Access
  16         As authorized by the TRO (Section XIV, page 24), we took control and
  17 exclusive custody of Defendants’2 three business premises in Irvine, California on
  18 October 23, 2019, commencing at approximately 10:30 a.m. At each location, we
  19 received support from law enforcement officers. After securing each site, we
  20 provided access to counsel and other representatives of Plaintiffs and retained
  21 locksmiths who changed all exterior locks.
  22                1.     15261 Laguna Canyon Rd, Suite 200, Irvine, CA
  23         This 22,000 square foot space, bearing a nondescript “Prime Consulting”
  24 sign, comprises the entire second floor of a two-story building in an upscale office
  25 ///
  26
        2
  27   “Defendants” means collectively the Corporate Defendants, Individual
     Defendants and Relief Defendants, individually, collectively, or in any
  28 combination. TRO, Definitions at p. 6.
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    1 park. Prime Consulting is the lessee at a monthly rent of approximately $65,000.
    2 Exhibit 2 is a schematic of the space and an inventory of the property on site.
    3        At our arrival, we encountered an active operation with approximately
    4 130 personnel on site, many of whom appeared to be either brand new hires
    5 commencing training or prospects on site for job interviews. None of the
    6 Individual Defendants were present.
    7        Given the large number of people, many with minimal history with the
    8 business, it was a challenge to assemble them as a group and secure their
    9 cooperation. While several supervisors were on site, they were not cooperative;
  10 they did not assist during our effort to explain the receivership situation and secure
  11 TRO-required questionnaires from employees. 3 We ultimately imposed order,
  12 secured questionnaires from those employees who were cooperative, and met with
  13 a small number of sales personnel.
  14         The premises are built out to support a large telephone sales operation. The
  15 open floor space includes nearly 150 individual workstations equipped with
  16 telephones, computers, and monitors and organized in a pod-type system with each
  17 pod housing 12-15 sales workstations and one team leader. At our arrival,
  18 97 workstations appeared to be currently active. The walls are adorned with
  19 multiple big screen TVs and the usual accoutrements of sales boiler rooms,
  20 including white boards tracking the daily “closings” of each sales agent,
  21 motivational sales posters, and instructions to “close” the sale. See Section VI
  22 below for a summary of the sales operation.
  23         The space also includes a large conference room, eleven interior offices, 4
  24
        3
  25   Two of the supervisors who refused to cooperate and complete questionnaires –
     Compliance Manager Nicole Balestreri and HR Director Shirena Hulzar – did,
  26 however, file declarations in connection with Defendants’ opposition to a
     Preliminary Injunction.
  27 4
       The interior offices are allocated to Human Resources (2), Training (4), the Floor
  28 Manager and his staff (2), a Compliance Manager, Information Technology, and
     Marketing. The marketing office is occupied by Pub Club Leads, allegedly a third
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    1 and four exterior offices.5
    2               2.    173 Technology Drive, Suite 202, Irvine, CA
    3        This suite of approximately 15,000 square feet is subleased by Defendant
    4 CAC from a neighboring company at a monthly rent of approximately $18,000.
    5        The site has capacity for nearly 120 staff with 4 individual exterior offices.
    6 At our arrival, approximately 60 employees were on site: 2 managers (the
    7 Customer Support Manager and the head of “Junior Processing”); 10-15 members
    8 of the Customer Service team; 10-15 members of the Junior Processing Team; and
    9 30 temporary employees, just recently hired for the reverification campaign
  10 described below. Two other managers (Adon Janse and Isabel Banda) with offices
  11 at this site were both at the Hughes location, conducting hiring and training of
  12 temporary employees for the reverification campaign.
  13         Nearly all employees at this site were cooperative, completed questionnaires,
  14 and responded to our questions.
  15         Exhibit 3 is a schematic of the office and an inventory of the property on
  16 site.
  17                3.    8 Hughes Parkway, Suite 210, Irvine, CA
  18         This site is an approximately 10,000 square foot suite in a two-story building
  19 in an office park leased by True Count at a monthly rate of approximately $10,000.
  20 A small sign for “SL Account Management” is posted on the front door.
  21         About a dozen people were present – most were temporary staff from
  22 AppleOne, a staffing agency regularly used by Receivership Defendants, on their
  23 first day of training for the reverification campaign.
  24         The suite consists of seven rooms built out along the windows (only one in
  25
     party firm to which Defendants have subcontracted advertising and lead
  26 generation.
        5
  27  The exterior offices are allocated to operations/accounting (with 9 workstations),
     employee Le Ho (aka Calvin Ho) and one office each to Individual Defendants
  28 Tuong Nguyen (aka Tom Nelson) and Albert Kim.
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    1 active use) and a large open area with approximately 120 cubicles (almost all of
    2 which were out of use). 6, 7
    3           Exhibit 4 is a schematic of the space and an inventory of the property on
    4 site.8
    5           B.    Bank Accounts
    6           Immediately after receiving the TRO, Plaintiffs and the Receiver served the
    7 asset freeze on banks and other financial institutions where Defendants were
    8 known to maintain accounts. In the brief time since the TRO was entered, we have
    9 received the following information as to frozen accounts:
  10                                                                             Balance
                   Account Name        Financial Institution      Acct. No.      Frozen
  11
            First Priority LLC        JPMorgan Chase Bank           8566        $159,457.33
  12        First Priority LLC            Sunwest Bank              0992          $4,534.25
  13        Hold The Door Corp.
            (Relief Defendant)             Wells Fargo              7284         $53,634.41
  14
            Horizon Consultants LLC       Sunwest Bank              1069       $707,127.02
  15        Infinite Management Corp. JPMorgan Chase Bank           3880         $40,628.40
  16        Prime Consulting LLC      JPMorgan Chase Bank           0325       $517,412.78
  17        Prime Consulting LLC          Sunwest Bank              1026         $10,000.00
            TAS 2019 LLC                 HSBC Bank USA              3327      $2,870,097.75
  18
            TAS 2019 LLC                 HSBC Bank USA              0413          $3,096.99
  19
        6
  20  One of the rooms was set up as a training room and was in use when we arrived.
     Another office was occupied by Ms. Banda (HR), and another appeared to be in
  21 occasional use by IT personnel. The rest seemed to be unoccupied. Nearly all the
     cubicles were equipped with computer monitors, but many lack an actual
  22 computer, and appear to have been out of use for some time.
        7
  23   Both IT personnel (Keneth Hu and Mr. Vu) listed 8 Hughes as their principal
     office, but Mr. Hu told us that IT had offices in each location, and determined
  24 where they would spend each day based on the support requests it needed to
     address. Next to the IT office in the corner of 8 Hughes, we found a room
  25 containing a large rack of computer equipment apparently running bitcoin mining
     computations as a personal hobby of Mr. Hu. With Mr. Hu’s consent, we turned
  26 that equipment off.
        8
  27   At all three locations, we observed thousands of unopened letters from various
     student loan servicers and the Department of Education addressed to customers but
  28 sent to Defendants’ various mail drops.
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    1
                                                                                 Balance
    2            Account Name           Financial Institution     Acct. No.      Frozen
            TN Accounting Inc. (Relief
    3
            Defendant)                 JPMorgan Chase Bank          7163         $18,461.53
    4       True Count Staffing Inc.        BNY Mellon              2000          $2,824.83
    5       True Count Staffing Inc.   JPMorgan Chase Bank          1126          $8,887.95
    6       True Count Staffing Inc.       Sunwest Bank             2499       $364,355.56
            True Count Staffing Inc.        Wells Fargo             7276          $1,500.00
    7
            TOTAL                                                             $4,762,018.80
    8
    9            C.    Documents/Information/Electronic Data
  10             Upon taking possession of each of the three offices, we confirmed the hard
  11 copy documents onsite were secure. We retained a computer forensic firm to
  12 supervise Plaintiffs’ computer forensics experts in making images of selected
  13 desktop computers.
  14       Receivership Defendants utilize multiple cloud computing services –
  15 Microsoft Office 365 for email; Intuit QuickBooks Online for accounting; and
  16 DebtPayPro for their customer relationship management database (CRM). Despite
  17 some initial difficulty, we ultimately secured access, via the administrative
                                                                                9
  18 credentials, to most of the email accounts attached to the active domains and to
                                                               10
  19 QuickBooks Online for most of the Receivership Defendants. DebtPayPro
                                              11
  20 immediately suspended the CRM accounts.
        9
  21      slaccountmgmt.com, financialpreparationservices.com, processingsupport.com,
        and studentservicesplus.com.
  22    10
        We do not yet have QuickBooks access for Receivership Defendants First
  23 Priority, Horizon Consultants, or Trusted Account Services.
        11
  24       DebtPayPro also suspended the CRM database for EDU Doc Support – a related
        entity identified by Plaintiffs. When EDU Doc Support complained that their
  25    account should not be locked, we asked them to provide additional information to
        determine whether they are a related entity (i.e., owner’s name, type of business,
  26    location, etc.). To date, EDU Doc Support has not provided any information.
        Based on a review of their website (www.edudocsupport.com), they also provide
  27    student loan debt relief services. Until EDU Doc Support demonstrates that they
        are not related to the common enterprise, we are not comfortable taking its
  28    DebtPayPro account off suspension.
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    1        Receivership Defendants employed CallerReady for telephone services.
    2 CallerReady’s counsel has confirmed they have preserved call recordings and are
    3 cooperating with the Receiver.
    4        D.     Accounting
    5        Our forensic accountant, Lisa Jones, is in the process of reviewing available
    6 financial records, which include QuickBooks records, bank statements, and
    7 merchant account statements for True Count and Prime Consulting. Based on the
    8 information available to date, she has prepared a Receivership Initial Account
    9 Records Review report attached as Exhibit 5. She has confirmed Defendants took
  10 in more than $71 million in gross deposits from consumer payments from January
  11 2016 to August 2019. We have also identified accountants who have provided
  12 bookkeeping and tax preparation services for Receivership Defendants in the past.
  13 We will follow up with them to secure relevant records and tax returns.
  14         E.     Notice to Consumers
  15         We added an outgoing telephone greeting to the Receivership Defendants’
  16 telephone numbers noting the suspension of operations and strongly encouraging
  17 customers to contact their student loan servicers. We have also placed a notice on
  18 the Receiver’s website and will use that as a vehicle to communicate with
  19 consumers.
  20                                           III.
  21                               DEFENDANTS’ PIVOT
  22                    TOWARD COMPLIANCE IN AUGUST 2019
  23         As important context for this receivership, we must note Defendants’
  24 operation has attracted significant state and federal regulatory attention over the
  25 last several years. Defendants failed to comply with fundamental regulations for
  26 telemarketing sales, including the prohibition of advance fees. Only beginning in
  27 August 2019 did Defendants initiate any material changes to their operations and
  28 then only after the regulators were knocking at the door.
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    1         As alleged in Plaintiffs’ submissions to the Court and reflected in CAC’s
    2 bankruptcy filings, Defendants’ regulatory exposure was highlighted by a
    3 $31 million bankruptcy claim by the State of Minnesota and by the CFPB’s
    4 issuance on September 10, 2018 of a civil investigative demand (“CID”) to
    5 Defendant CAC.
    6         Around the time of the CID, CAC shifted operations and assets to other
    7 Receivership Defendants – the sales operations were transferred to Prime
    8 Consulting and the customer base and revenue stream were shifted to True Count.
    9 CAC then filed bankruptcy in Florida in January 2019 with the goal, according to
   10 the testimony of Individual Defendant Albert Kim, to avoid the regulatory
   11 enforcement agencies which were circling. Because of concerns about false
   12 statements in its filings, the bankruptcy court later appointed a trustee over CAC’s
   13 bankruptcy estate.
   14         The CFPB’s and the states’ investigation of Defendants proceeded despite
   15 the bankruptcy. In July 2019, the CFPB took the investigative testimony of at least
   16 two former employees. 12 Individual Defendants Kaine Wen and Albert Kim were
   17 aware of this testimony and they contacted one of the witnesses just before his
   18 scheduled appearance.
   19         Defendants appear to have reached a tipping point after the Wall Street
   20 Journal published an article highly critical of their practices on August 26, 2019,
   21 which was immediately emailed to Individual Defendants Albert Kim and Kaine
   22 Wen. See Exhibit 6.
   23         A day after the Wall Street Journal article ran, management 13 convened an
   24 emergency meeting which resulted in a decision to immediately suspend all sales
   25
        12
   26      Excerpts of the testimony of these former employees – Maxwell Camp and
        Jovani Ortoro – are attached as Exhibits 33 and 34 to Plaintiffs’ TRO Application.
   27   13
         This meeting of management included Kaine Wen, Albert Kim, Isabel Banda,
   28 Sal Avila, Kenny Nguyen, and Eric Ortiz.
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    1 efforts. Defendants announced to employees that “effective immediately all sales
    2 and marketing will be paused until further notice.” The stated purpose of this
    3 pause, projected to last approximately three weeks, was that “[d]uring this period
    4 the company and each department will work on re-training, compliance, and
    5 policies. In addition, each department will work together to address any and all
    6 mistakes on all client files.” See Exhibit 7.
    7        The sales pause was broadcast on the Financial Preparation Services website
    8 on August 28, 2019. 14 Human Resources emailed customer service personnel on
    9 August 28, 2018 to alert them that there was a new script to follow and instructed
   10 them to tell customers as follows:
   11               “[W]e are upgrading our technology and other systems to
                    ensure that clients have received and continue to receive
   12               high-quality services from us. While our acceptance of
                    new clients has been temporarily put on pause, we are
   13               absolutely continuing to work with current clients who
                    have paid at least one installment for our services.”
   14
   15 See Exhibit 8. 15
   16        At the outset of the sales pause, management identified prohibited practices
   17 that would be subject to a new “zero tolerance” policy.16 We located a flyer
   18 reciting these new policies posted just outside the “Junior Processing” department
   19   14
         The “ATTENTION ALL CUSTOMERS” notice recited that as of that date
   20 Financal Preparation Services “will be integrating new operational changes” and
      had “decided to temporarily pause our acceptance of new clients while
   21 undertak[ing] this integration.” See Exhibit 8.
        15
   22    The email also instructed that customers needing more information be told (1)
      “We are working on a variety of upgrades, including the way we process payments
   23 and other operational processes”; and (2) “Improved quality control to ensure that
      100% of our customers received the services that they paid for and are in the right
   24 loan modification, repayment, or forgiveness plan.” If a customer wanted to
      cancel, customer service should “process the cancellation without hesitation.”
   25 16
         These prohibited practices included: Accessing NSLDS (National Student Loan
   26 Data System); accessing FSA (Federal Student Aid); changing FS (family size);
      signing documents on behalf of clients; misrepresentation of the company
   27 (Example: we work with the DOE/servicer); submitting clients as unemployed on
      annual recertifications; and final pay without ROA [release of
   28 authorization]/confirmation documents uploaded. See Exhibits 7 and 9.
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    1 with a character wagging his fingers, “Ah, Ah, Ah, You Didn’t Say the Magic
    2 Words.” See Exhibit 9.
    3         During this sales pause (August 29, 2019 to September 30, 2019),
    4 Defendants took some steps toward compliance, including new sales scripts and
    5 training, a reverification campaign, and new claims about not accepting advanced
    6 fees. See Section VI.E “Compliance” below. A new dba “Student Services Plus”
    7 was also launched as Defendants’ public face for new customers, replacing
    8 Financial Preparation Services which had been featured prominently in the Wall
    9 Street Journal article. The launch of a new dba was consistent with Defendants’
   10 practice of deploying multiple generic-sounding business names. 17
   11         The business changes implemented after the Wall Street Journal article
   12 could fairly be interpreted as a mad scramble to correct illegal practices to stave off
   13 potential regulatory, civil, and possibly criminal liability. Or, the changes might be
   14 a sincere effort to embrace compliance. But as Receiver, I need not reach a
   15 definitive conclusion on such internal motivations, which do not impact my
   16 determination, as detailed below, that the Receivership Defendants operated
   17 unlawfully even after the August pivot and the businesses cannot operate profitably
   18 and lawfully using the assets of the Receivership Estate going forward.
   19         With this history as context, we present below a summary of the operations
   20 as we found them.
   21
        17
   22      At the time of immediate access, we found lists identifying employee teams,
        each with a different, and very generic, company name including: Premier Student
   23   Loan Center; Financial Preparation Services; South Coast Financial Center; Direct
        Account Services; Financial Loan Advisors; Account Preparation Services;
   24   Administrative Financial; Tangible Savings Solutions; Coastal Shores Financial
        Group; First Choice Financial Centre; Administrative Account Services; Primary
   25   Account Solutions; Prime Document Services; Financial Accounting Center; Doc
        Management Solutions; Sequoia Account Management; Pacific Palm Financial
   26   Group; Pacific Shores Advisory; First Document Services; Keystone Document
        Center; Administrative Accounting Center; Global Direct Accounting Services;
   27   Signature Loan Solutions; Best Choice Financial Center; Yellowstone Account
        Services; Regional Accounting Center; and Financial Direct Services. See
   28   Exhibit 10.
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    1                                            IV.
    2              DEFENDANTS COLLECT UNLAWFUL ADVANCE FEES
    3         The Telemarketing Sales Rule prohibition of such fees is a significant
    4 structural obstacle to this business succeeding as a lawful enterprise. The well-
    5 documented policy goal of the advance fee rule is to deter telemarketing
    6 opportunists from entering the debt relief business by removing a critical lure of
    7 such businesses – instant cash flow from susceptible consumers. Without that cash
    8 flow, the financial rationale for the business expires. Even with a TSR-compliant
    9 escrow, the impact on cash flow of deferring actual collection until the TSR pre-
   10 conditions are met is significant.
   11         Defendants’ current position, which is that their collection of advance fees is
   12 now lawful because the fees go to dedicated client accounts provided by third-
   13 party Trusted Account Services, is an ill-conceived effort to invoke the escrow
   14 exception to the TSR’s advance fee prohibition.
   15         A.      The Law – Telemarketing Sales Rule (16 C.F.R. § 310.4(a)(5))
   16         The Telemarketing Sales Rule (16 C.F.R. § 310, “TSR”) expressly prohibits
   17 the collection of advance fees for any debt relief service. See 16 C.F.R.
   18 § 310.4(a)(5). The full text is complex, but at its core, it prohibits requesting or
   19 receiving payment of any fee unless and until (A) the telemarketer has settled at
   20 least one debt pursuant to an agreement executed by the customer, and (B) the
   21 customer has made at least one payment pursuant to that agreement.
   22         The TSR includes a very narrow exception (the “Escrow Exception”) which
   23 permits the collection of advance fees if the funds are placed in a dedicated
   24 escrow-type account that meets five specific requirements, namely:
   25              • The account is at an insured financial institution;
   26              • The customer owns those funds and is paid accrued interest;
   27              • The account holder is not owned or controlled by the debt relief
   28                 servicer;
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    1             • The account holder does not give or accept any referral fees; and
    2             • The customer may withdraw from the debt relief service at any time
    3                without penalty and, upon withdrawal, must receive all funds in the
    4                account, except for compliant advance fees, within seven days of the
    5                withdrawal request.
    6        B.      Defendants Collect Advance Fees
    7        Consumer payments for Defendants’ services have been and continue to be
    8 collected long before any work has been completed or the customer has made a
    9 first payment on a new renegotiated plan. During the initial sales call, Defendants
   10 acquire the customer’s payment information and schedule the first payment, which
   11 is generally processed almost immediately after the customer executes the Services
   12 Agreement.
   13        The recurring monthly “recertification fee” is by definition collected in
   14 advance for 12 months before the annual recertification process even commences.
   15        C.      No Valid Escrow or Trust Procedure
   16        In four years of operation, Defendants have not had escrow or trust
   17 procedures which could lawfully invoke the TSR’s Escrow Exception. 18
   18 Consumer payments have been collected and deposited directly to Defendants’
   19 bank accounts. Nearly $71 million have flowed directly to Defendants in this
   20 manner.
   21        Despite these immediate deposit procedures, Defendants have for years
   22 falsely trumpeted the absence of advance fees. A standard “No Advance Fees”
   23 provision of the form contract recites: A “third-party dedicated account provider
   24 (“DAP”) [will be used] to collect and deposit payments that Client has agreed to
   25
        18
   26   There are two very minor exceptions. Defendants contracted with third party
      dedicated account holders Reliant Account Management and Account
   27 Management Plus for a very short time. As best we can discern this was done so
      Defendants could steal these companies’ trade practices, methods, and documents.
   28 (Discussion below).
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    1 make with company . . . and to deposit and hold Client’s funds in a trust account
    2 established and serviced by the DAP. The DAP will not disburse any Client fees
    3 until Client has received a consolidation, adjustment, or otherwise satisfactory
    4 result, and Client completes one payment towards such.” 19
    5        Now, Defendants have introduced Trusted Account Services into this “No
    6 Advance Fees” misrepresentation. The October 21, 2019 Sales Script in use at the
    7 time of the TRO proclaims:
    8            • “Our fees will be placed into your own Dedicated Client Account and
    9               these funds belong to you at all times. Your dedicated account
   10               provider is Trusted Account Services, and they will only release our
   11               fees after the Department of Education approves your Income Driven
   12               Repayment Program every year.” See Exhibit 11.
   13            • “As noted earlier on the call, all payments to us will be placed into
   14               your Dedicated Client Account. Any time before completion of the
   15               work, you can cancel and get your funds back. Your funds will only
   16               be released to us after we prove to you and Trusted Account Services
   17               that we have completed the work . . . .” See Exhibit 11.
   18        The “Compliance Call Script” within the Sales Script further recites:
                  “Do you understand that our company does not take any
   19             upfront fees, and that your payments to us will be placed
                  into your own Dedicated Client Account for your benefit
   20             until we successfully complete our work for you?” If the
                  consumer responds No, then the script continues: “It is
   21             very important to us your money is protected. You are
                  making payments for our fees to your own Dedicated
   22             Client Account held by a non-related company (like a trust
                  company). Your payments will be released to our
   23             company only after the Department of Education accepts
                  your program/plan. That money belongs to you at all
   24             times and you can ask for it back prior to completion of
                  our work.”
   25
   26
        19
   27    The consumer declarations filed by plaintiffs in connection with the TRO
      Motion include these underlying contracts. See, e.g., Pl. Exhibit 52, attachment A,
   28 p. 1466, para. 4. See also Pl. Exhibit 53, attachment A, para. 4.
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    1 See Exhibit 11 (emphasis in original). Even if Defendants followed procedures as
    2 described in the scripts, they do not comply with the specific requirements of the
    3 TSR. 20
    4        Defendants’ fundamental misrepresentation is that a Dedicated Client
    5 Account has been set up with a third party: Trusted Account Services. Our
    6 investigation has revealed that Trusted Account Services is not a third party, but an
    7 appendage of Defendants’ operation which is maintained in-house by a very
    8 narrow group of insiders. Hence, Trusted Account Services does not provide
    9 Defendants cover that they are in compliance with the TSR.
   10        Given the complex history of Defendants’ deep deception as to Trusted
   11 Account Services, we present below as Section V a summary of Trusted Account
   12 Services’ formation and implementation based on the materials available to us
   13 from the immediate access.
   14                                          V.
   15                         TRUSTED ACCOUNT SERVICES
   16        Trusted Account Services (sometimes referred to as TAS) is not an
   17 independent third-party provider of dedicated client accounts. Rather, it was
   18 created and is beneficially owned and controlled by the Defendants who have
   19 closely guarded their ownership secret. The truth was shared with only a handful
   20 of Defendants’ high-level and trusted employees, who, in turn, relied on internal IT
   21 personnel and IT contractors located in Vietnam to build the Trusted Account
   22 Services facade.21
   23   20
         TSR prohibits the release of fees from the consumer’s trust account until (A) the
   24 telemarketer has settled at least one debt pursuant to an agreement executed by the
      customer, and (B) the customer has made at least one payment pursuant to that
   25 agreement. Defendants’ script ignores the one payment requirement, stating that
      funds will be released “only after Department of Education accepts your
   26 program/plan,” not after the plan has been accepted and one payment has been
      made as the TSR requires.
   27 21
         Outside the C-suite executives and IT functionaries, employees within
   28 Defendants’ companies were fed the party line about Trusted Account Services.
      Despite that, however, some employees we interviewed – who were mid-level
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    1        Because Trusted Account Services is owned and controlled by the Individual
    2 Defendants and affiliated with the Receivership Defendants – and indeed is part of
    3 the Defendants’ student loan debt relief common enterprise – I have determined it
    4 is a Receivership Defendant.
    5        Once Trusted Account Services was operational, it was touted as the
    6 independent provider of dedicated client accounts for Receivership Defendants, all
    7 in an effort to create the appearance of an escrow procedure compliant with the
    8 TSR advance fee rule.
    9        A.     Defendants Establish Trusted Account Services
   10               1.    Incorporation
   11        The Trusted Account Services entity, TAS 2019 LLC (“TAS 2019”), was
   12 incorporated on March 20, 2019 as a Wyoming entity through an anonymous
   13 process using a local registered agent. The Wyoming Secretary of State does not
   14 provide information beyond the name of the registered agent – this allowed
   15 Defendants to conceal their involvement.
   16        The address listed for Trusted Account Services on its website is 109 E. 17th
   17 Street Suite 5656, Cheyenne, WY which is simply a virtual office that accepted
   18 mail and provided the false appearance of an actual operating company. The
   19 Wyoming virtual office was rented in the name of Trusted Account Services and
   20 Kenny Huang and was instructed to forward Trusted Account Services mail to an
   21 address in Huntington Beach, CA – 17011 Beach Blvd, Suite 900. See Exhibit 12.
   22 The Beach Blvd location is yet another virtual office/mail drop arranged and paid
   23 for by Defendants’ employees, including operations manager Calvin Ho, in the
   24 name of Trusted Account Services and Kenny Huang. See Exhibit 13.
   25        The TAS 2019 incorporation documents we recently secured identify Kenny
   26 Huang as the managing member of the LLC. We believe Kenny Huang is or was
   27
      managers and line employees – noted they were suspicious about the independence
   28 of Trusted Account Services.
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    1 an employee of the Defendants or perhaps was simply acting as a “front” for the
    2 Defendants in their effort to secure merchant payment processing. 22 During a
    3 phone call with Kenny Huang at 6:12 p.m. on October 30, 2019, I directly asked
    4 him if he was the owner of TSA 2019, and he responded “yes” twice, but then
    5 would not answer further questions and has not responded to our several calls since
    6 then.
    7               2.    Website
    8         On March 20, 2019, Defendants also registered a website –
    9 trustedaccountservices.com. Although the domain is registered anonymously with
   10 internet domain registrar GoDaddy, our investigation indicates that Defendants
   11 control the Trusted Account Services server and website. We discovered
   12 correspondence between Defendants’ employees Calvin Ho and Thein Nguyen
   13 discussing, evaluating and revising the initial content for this website. We also
   14 located the GoDaddy and TAS domain credentials (username and password) in
   15 Individual Defendant Albert Kim’s Dropbox.
   16         Defendants also controlled the Trusted Account Services email system. In a
   17 Customer Service Manager’s workstation, we located the Outlook password for
   18 email account studentloanmanagement@trustedaccountservices.com. See
   19 Exhibit 14. That email mailbox was only recently created (October 13th), but had
   20 already received several hundred emails from customers. Although they were
   21 addressed to a Trusted Account Services account, these emails were regularly
   22 reviewed and responded to by Defendants’ employees.
   23   22
         We found an IRS W-4 form completed in the name of Kenny Huang at
   24 Defendants’ Laguna Canyon office. Trusted Account Services merchant account
      application documents purportedly completed by Kenny Huang reflect he is
   25 employed by the U.S. Department of Labor. Regardless of where Mr. Huang is
      employed, we believe he was acting as a “front” or nominee used to establish TAS
   26 2019, open bank accounts, and most importantly obtain merchant account payment
      processing. Defendants have used other employees, for example, Keneth Hu
   27 (discussed below), to act as “front” for Defendants’ merchant account applications.
      In Mr. Hu’s case, he opened a Horizon Consultants LLC d/b/a Premier Student
   28 Loan Center merchant account.
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    1        B.        Defendants’ First Attempt to Secure Payment Processing for
    2                  Trusted Account Services
    3        In February 2019, even before the Trusted Account Services name had been
    4 selected, Defendants sought a payment processing vendor for the new venture.
    5 They began discussions with Donald Cook, a broker who seems to cater to high-
    6 risk clients. On February 26, Cook told the Individual Defendants Wen and
    7 Nguyen and senior employee Calvin Ho that he could secure processing services,
    8 but warned they needed a third party intermediary for client funds. See
    9 Exhibit 15. 23
   10        Not long after the entity was incorporated, Kaine Wen (copying the other
   11 Individual Defendants and Calvin Ho) notified Donald Cook that TAS 2019 LLC
   12 would be the processing applicant with Kenny Huang as the owner. See
   13 Exhibit 18. Cook responded by email to Kenny Huang (who Mr. Cook understood
   14 was an employee of the Defendants) with more requests for information. In
   15 response, Kaine Wen, who had been copied on the email, forwarded Cook’s
   16 requests to his operations manager Calvin Ho to complete (which he did).24 While
   17 he was able to secure some payment processing for Defendants, Cook terminated
   18 the relationship after a falling out with Defendants. As a result, Trusted Account
   19 Services was left without payment processing capability, but the void was later
   20 filled by Jimmy Lai – a long-time associate of the Defendants, discussed below.
   21 ///
   22 ///
   23
        23
   24    A few days later, on March 3, Calvin Ho emailed the Individual Defendants a
      flow chart for a new “DAP” [dedicated account provider] intermediary, Exhibit 16,
   25 and on March 11, he emailed his technical team a list of desired functions for the
      DAP intermediary, which for the first time he identifies as Trusted Account
   26 Services. Exhibit 17.
        24
   27    Kenny Huang was purported to be using the email TAS2019@gmail.com, but in
      fact Kaine Wen actually controlled that email account and used it frequently
   28 (posing as Kenny Huang) in communications with vendors.
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    1        C.     Defendants Deceive DebtPayPro to Get Trusted Account Services
    2               on the Platform
    3        For Trusted Account Services to function, it had to be integrated with
    4 Defendants’ customer relation management (CRM) software, provided by
    5 DebtPayPro. Kaine Wen along with Calvin Ho orchestrated a ruse to get Trusted
    6 Account Services accepted and integrated in the DebtPayPro CRM database. They
    7 went to great lengths to posture Trusted Account Services as a real and
    8 independent company, including creating fictional characters to interact with DPP
    9 via email and over the telephone.
   10        On May 1, 2019, Kaine Wen emailed DebtPayPro’s support team, writing:
   11               “Please provide detailed answers and explanations to the
                    following questions from Trusted Account Services. We
   12               are testing out their dedicated account provider services
                    (same services as Reliant Account Management or
   13               Account Management Plus). Thank you in advance.
                           1.    How can we integrate with DPP?
   14                      2.    Do you have any document that details what
                    information we need to receive from DPP’s end or pass to
   15               DPP from our end?
                           3.    Do you have any API to use for integration?
   16                      4.    How can we manage the transactions and
                    clients between our systems and DPP?”
   17
   18 See Exhibit 19 (emphasis added)
   19         The questions posed by Kaine Wen did not, however, originate from Trusted
   20 Account Services, but were crafted by Defendants’ IT employee 25 who had been
   21 tasked to integrate Trusted Account Services into the DebtPayPro platform. See
   22 Exhibit 20.
   23        Kaine Wen created these questions and the lead-in to them to paint the
   24 mirage of Trusted Account Services as a separate company. When DebtPayPro
   25 support staff followed up with a request for the company’s website and the name
   26 of a direct contact there, Calvin Ho responded with a link to the website
   27   25
        We believe the Vietnam company, Processing Service Co., Ltd., is owned by
   28 Calvin Ho’s mother. It received nearly $600,000 from Horizon Consultants.
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    1 (https://trustedaccountservices.com) and an email address
    2 (technicalsupport@tasportal.com). See Exhibit 19. DebtPayPro support then
    3 asked, “[i]s there a person there you’ve been working with that I can ask reach
    4 [sic] out to specifically?” Id. Calvin Ho responded with a name: Michael Tabin
    5 (michaelt@trustedaccountservices.com) whose signature listed him as Trusted
    6 Account Services’ Chief Technology Officer. Id. We believe, however, that
    7 “Michael Tabin” is a fictional name invented by Kaine Wen and Calvin Ho to deal
    8 with DebtPayPro.
    9         On May 23, Ho emailed the group – addressing both DebtPayPro and
   10 “Michael” – to ask how the integration was proceeding and when Defendants
   11 could begin using Trusted Account Services. Id. DebtPayPro responded that they
   12 were still reviewing the API documentation and drafting a scope of work proposal
   13 and quote. Id. Throughout the email chain with DebtPayPro, Wen and Ho
   14 maintained the deception that they were Trusted Account Services. Trusted
   15 Account Services was ultimately accepted by DebtPayPro – which gave
   16 Defendants the ability to process consumer payments through Trusted Account
   17 Services on the DebtPayPro platform.
   18         D.    Defendants Purloined Legitimate Third Party Companies’
   19               Methods and Documents to Establish Trusted Account Services
   20         Our review also revealed that in establishing Trusted Account Services,
   21 Defendants just copied the methods, operations and documents of other such
   22 providers like Reliant Account Management (“RAM”) and Account Management
   23 Plus (“AMP”). Defendants had their IT contractor in Vietnam copy wholesale the
   24 practices and documents (generally word-for-word) of RAM and AMP which were
   25 then only slightly modified and rebranded as Trusted Account Services materials.
   26 We located in Defendants’ team management software, Monday.com (which is
   27 used to monitor IT and operations projects), a project associated with the creation
   28 of Trusted Account Services. The Defendants’ Monday.com platform includes
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    1 tasks such as “Figure AMP’s services charges to find a processing comp for TAS”
    2 and “Create a new agreement based on RAM Authorization Form,” as well as
    3 “Build database for TAS” and “Revise TAS Contents.” See Exhibit 21.26 This
    4 “creative” history demonstrates that Trusted Account Services was hatched by
    5 Defendants, complete with intellectual property thievery.
    6        E.      Defendants Own and Control the Trusted Account Services Bank
    7                Accounts
    8        Defendants opened Trusted Account Services bank accounts at HSBC Bank
    9 shortly after TAS 2019 was incorporated. While we have not yet received a
   10 fullsome response from HSBC, we found the following documents at the Laguna
   11 Canyon offices which show Defendants own and control these HSBC accounts:
   12             • An HSBC account statement for Trusted Account Services for
   13                September/October 2019 was found in a back corner office (where
   14                Defendants’ operations/accounting were located).
   15             • Two large packages of Trusted Account Services HSBC business
   16                checks were found in a safe in the same office. Although Kenny
   17                Huang is the signatory on the account, the checks were mailed to the
   18                home address of Defendants’ accounting employee, Thu Quach. Ms.
   19                Quach labeled the two accounts as an operating account and a client
   20                funds account.
   21             • One sheet of checks were pre-signed via a signature stamp in the
   22                name of Kenny Huang. See Exhibit 22. We later found the stamp in
   23                the safe in Ms. Quach’s office.
   24
        26
   25    Notably, Defendants contracted with both RAM and AMP for a short period of
      time. For example, Defendants entered into a contract in November 2018 with
   26 RAM, but the relationship terminated in roughly March of 2019 – Defendants
      having used RAM for only a couple of dozen customers (out of the Defendants’
   27 roughly 50,000 active customers). But in doing so, Defendants learned the
      methods of these third party dedicated account provider companies and accessed
   28 their agreements and contracts which the Defendants promptly plagiarized.
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    1             • We also found Costco receipts, dated September 10, 2019, for two
    2                orders of Trusted Account Services HSBC checks. The checks had
    3                been mailed to Ms. Quach’s home.
    4             • The address on the checks is the Beach Blvd. virtual office for Trusted
    5                Account Services, which was opened under Kenny Huang’s name but
    6                which Defendants arranged.
    7        F.      Defendants Arrange Trusted Account Services Payment
    8                Processing through Jimmy Lai and National Merchant Center
    9        Once Defendants integrated Trusted Account Services into the DebtPayPro
   10 platform, they still needed a payment processing vendor. Defendants had been on
   11 alert for payment processing options for several months. See Exhibit 23. When
   12 the arrangement with Donald Cook fell apart, the Defendants went back to Jimmy
   13 Lai, who, like Cook, acts as a middle man between high-risk merchants and
   14 payment processors. 27 He has worked with Defendants on numerous occasions to
   15 secure payment processing for their various entities.
   16        Defendants did not have to present an elaborate charade of Trusted Account
   17 Services’ independence with Jimmy Lai. Lai was in on the lie. He understood that
   18 Defendants owned and controlled TAS 2019 and that Kenny Huang was a front.
   19 He had worked with Defendants for years and, in fact, had previously executed
   20 nearly this exact “front” scam with Defendants.
   21        In late 2018, Lai worked with Individual Defendants Wen and Nguyen to
   22 use a front – this time Keneth Hu, an IT employee of Defendants – to apply for a
   23 merchant processing account in the name of Horizon Consultants LLC d/b/a
   24 Premier Student Loan Center. Hu claimed to be the 100% owner of Horizon
   25 Consultants for purposes of the application – but all involved understood that
   26
        27
   27   In this instance it is unclear whether Lai was acting as a broker or as an
      employee of National Merchant Center, as we see that he uses a National Merchant
   28 email address in connection with Trusted Account Services.
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    1 Defendants own and control the company. When the application was finalized – in
    2 Keneth Hu’s name and containing all of his personal information – Lai sent it to
    3 Individual Defendants Wen and Nguyen, not Hu, with a note: “Please review for
    4 accuracy, sign and return.” Kaine Wen then forwarded the application on to Hu
    5 with instructions, “Please sign on page 6 (twice) and page 7.” See Exhibit 24.
    6 Horizon Consultants’ merchant application was approved and it proceeded to run
    7 consumer charges through the account. See Exhibit 25.
    8        Eight months later, Defendants approached Lai about filing another
    9 application package using a “front” – this time for Trusted Account Services. Lai
   10 was happy to oblige. On June 19, Lai submitted an application for TAS 2019 with
   11 National Merchant Center with Kenny Huang as the “front” – listed as the 100%
   12 owner. See Exhibit 26. Six days later, the associate director of underwriting wrote
   13 to Lai and identified a number of holes in the application. Lai simply forwarded
   14 the email with a one sentence introduction: “Kaine/Kenny, There are a lot of things
   15 missing that we need to obtain before we can send to First Data for review and
   16 approval.” Id. The application was revised and submitted on July 1. See
   17 Exhibit 27. Again, Kenny Huang was the “front,” listed as the owner of TAS
   18 2019. On July 9, Lai forwarded the final application for signature, listing Kenny
   19 Huang as the 100% owner. But Lai did not send the application to Kenny Huang;
   20 he sent it only to Kaine Wen with the instruction to “[p]lease execute with Wet
   21 Signature.” See Exhibit 28.
   22        National Merchant Center accepted the application – an application that
   23 Kaine Wen, Kenny Huang and Jimmy Lai knew was false. Processing for Trusted
   24 Account Services began on September 12 and by the end of the month more than
   25 $800,000 in consumer funds had been processed. Another $2,000,000 in consumer
   26 charges were processed before the TRO was issued.28
   27   28
         Based upon information contained in the Trusted Account Services portal that
   28 Defendants’ employees control, more than 56,000 separate transactions were
      processed in the roughly six weeks of operation. Indeed, it appears that all of
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    1        G.     Defendants’ Assertion that Trusted Account Services Is a Third
    2               Party Dedicated Account Provider Is False
    3        In Defendants’ Response to the Order to Show Cause, they assert that
    4 Trusted Account Services is a “third party” which is “a dedicated account provider
    5 that provides escrow services” and that “[n]o Defendant or Relief Defendant owns
    6 or controls (or has ever owned or controlled) [Trusted Account Services].”
    7 Response at pp. 9-10. Each of these assertions is based entirely on the declaration
    8 of Jimmy Lai attached to the Response. Mr. Lai’s declaration is riddled with
    9 extraordinary falsehoods.
   10        As discussed above, Mr. Lai was a long-time payment processing broker for
   11 the Defendants and was instrumental on at least two occasions in obtaining
   12 merchant accounts for Defendants using “fronts” or nominees, including Trusted
   13 Account Services. Nevertheless, Mr. Lai now claims that Trusted Account
   14 Services is not, and was never, owned or controlled by any Defendant or Relief
   15 Defendant (¶ 6). This claim is belied by substantial evidence as described above.
   16 Mr. Lai also claims he is the majority owner of TAS 2019 and has been since
   17 September 1, 2019 (¶ 1), and that since his involvement with Trusted Account
   18 Services, its connection to Defendants has been limited to software integration
   19 (¶ 6). These claims are inconsistent with the facts described above and any number
   20 of objective post-September 1, 2019 facts:
   21             • On September 9, 2019, two Merchant Account Change Request
   22               Forms for Trusted Account Services were filed with National
   23               Merchant Center (a company at which Mr. Lai is or was employed).
   24               The owner of Trusted Account Services is listed as Kenny Huang and
   25               a signature in that name appears on the forms. See Exhibit 29. The
   26
   27
      Defendants customers’ payment processing was transferred to Trusted Account
   28 Services without notice to customers.
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    1              email listed for Mr. Huang, tas2019llc@gmail.com, is controlled by
    2              Kaine Wen.
    3           • A Trusted Account Services voided check was attached to the
    4              September 9th Merchant Account Change Request Forms. The
    5              address listed on the check is Kenny Huang’s home address. Id.
    6           • Also included with the Merchant Account Change Request Forms was
    7              a letter from HSBC, dated September 9, 2019, reflecting that
    8              TAS 2019 and Kenny Huang established a business account with the
    9              bank. Id.
   10           • On September 10, 2019, Defendants’ employees ordered new HSBC
   11              Trusted Account Services checks and had them mailed to an
   12              employee’s home.
   13           • On September 19, 2019, National Merchant Center ran another check
   14              on the Wyoming Secretary of State site to confirm that TAS 2019
   15              remained active at the mail drop in Wyoming. See Exhibit 30.
   16           • On September 20, 2019, a Trusted Account Services mail drop
   17              invoice in the amount of $125 for October 2019 was forwarded to an
   18              employee of Defendants for payment.
   19           • National Merchant Center sent a “card processing statement” for the
   20              period of September 1 to September 30, 2019 to Kenny Huang at the
   21              mail drop in Wyoming. See Exhibit 31.
   22           • In early October, National Merchant Center mailed the Trusted
   23              Account Services September processing statement to Kenny Huang at
   24              the mail drop in Wyoming (the address listed on the Wyoming
   25              Secretary of State site). See Exhibit 32.
   26           • We located the check stub for the last customer refund check written
   27              on the Trusted Account Services HSBC business account at the
   28
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    1               Laguna Canyon office; the check was written on October 4 using a
    2               signature stamp in the name of Kenny Huang.
    3            • On October 7, 2019, National Merchant Center forwarded the
    4               TAS 2019 September statements to Jimmy Lai at his
    5               swiftpaymentsinc.com and his nationalmerchant.com addresses.
    6               (Again, it is unclear if Mr. Lai continues to work at National
    7               Merchant Center.) Within eight minutes of getting the statements, Lai
    8               forwarded them to Defendant Nguyen. See Exhibit 33.
    9            • Two days ago, Wednesday, October 30 at 6:12 p.m., in a short
   10               telephone call with me, Kenny Huang claimed (twice) that he owns
   11               TAS 2019. Mr. Huang asked to see the TRO before having any
   12               further conversation. The TRO was provided. Mr. Huang has not
   13               responded to our emails or telephone calls since.
   14 We noticed and served a deposition notice on Mr. Lai on Tuesday, October 29, for
   15 a Friday, November 1 deposition. (That deposition is now set for Tuesday,
   16 November 5.)
   17                                          VI.
   18                        STUDENT LOAN DEBT RELIEF –
   19                       THE SALES PITCH AND PROCESS
   20        Defendants’ acceptance of advance fees in violation of the TSR dooms the
   21 business from the start.29 But, the analysis of whether this business can continue
   22 lawfully and profitably does not hang entirely on advance fees. We identified
   23 fundamental flaws in the tactics deployed to secure customers which have left
   24 consumers feeling confused and misled. See Section VI.F “Complaints” below.
   25        Defendants’ student loan debt relief business is built on a challenging
   26 premise: identify and target consumers with student loan debt to sell them a
   27   29
        Even advance fees collected through TSR-compliant escrow would pose serious
   28 challenges to financial sustainability – see discussion below.
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    1 utilitarian service they can do themselves (by filling out Department of Education
    2 forms or with the assistance of resources available from the DOE, DOE-approved
    3 loan servicers, and other consumer-friendly resources. And do this in an
    4 environment that is heavily regulated to protect consumers and prohibits advance
    5 fees until the work is completed and accepted by consumers. By any definition,
    6 this is not a promising business model for a lawful operator, and this reality is
    7 borne out by Defendants’ 70% cancellation rate. See Exhibit 1.
    8         A.    Leads
    9         New customers are secured by the telemarketing sales team by calls to and
   10 from consumer “leads.” Lead generation has been managed by Pub Club Leads
   11 (“Pub Club”), the marketing business which operated from an interior office at the
   12 Laguna Canyon site. Pub Club was tasked to generate “Billable Leads” based on
   13 parameters set forth in time-specific orders from Prime Consulting. Pub Club did
   14 this by retaining and managing multiple sub-vendors who deployed various data
   15 mining techniques. Pub Club was compensated by a percentage of the total
   16 “advertising buy” for each of the Orders. Our review indicates that for the period
   17 October 2018 to October 2019, Pub Club received approximately $9 million from
   18 Prime Consulting. Pub Club also received approximately $5 million from Horizon
   19 Consultants between March 2019 and September 2019.
   20         B.    Sales Tactics
   21         Defendants’ new “zero tolerance compliance” protocols, announced in
   22 August 2019, are themselves confirmation of bad practices that historically
   23 permeated the sales process. See Exhibit 7. One such practice related to family
   24 size where sales agents, with or without the customer’s assistance, inflated family
   25 size to secure lower payments. In one recorded telephone call from July 25, 2019,
   26 that we reviewed, the sales advisor added the customer’s two dogs to increase
   27 family size. In June 2019, a customer service manager identified an issue
   28 internally that customers felt “scammed” because they were paying $1,300 when
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    1 Defendants do “very little.” See Exhibit 34. In April, 2019, Individual Defendant
    2 Nguyen internally reported that he had done a small audit on family size and found
    3 that 6 out of 10 failed with “All fake FS.” See Exhibit 35.
    4        Our review of the Laguna Canyon site confirmed the obvious reality that
    5 Defendants were in the sales business with sales personnel incentivized to sell:
    6           • The Sales Department was physically structured to maximize results
    7               with sales agents organized in pods headed by a Team Leader, each
    8               with a separate white board to track results and weekly goals.
    9           • Sales advisors (who were retitled Student Loan Specialists on
   10               September 30, 2019) were paid weekly with an hourly minimum
   11               ($12-$15 per hour) and a commission based on a percentage (18%-
   12               22%) of the dollar value of closed deals after the enrollment payment
   13               cleared. The applicable percentage was determined by the advisor’s
   14               rank, which was based on total revenue from sales over the previous
   15               four weeks. See Exhibit 36.
   16            • Sales advisors were also paid bonuses through various “performance
   17               sprints”, including special bonuses for same day closings/payments
   18               and 5 deals in a day. The big producers even got to participate in
   19               raffles for laptops, gaming consoles, headphones and movie tickets.
   20               See Exhibit 37.
   21            • The overriding mission was to “Close.” A big screen TV in the main
   22               room ranked the highest closers. Inspirational signs promoted
   23               “Always Be Closing” and “Assume the Close.”
   24            • Sales advisors were exhorted to complete the “Hard Close,”
   25               sometimes called “Same Days,” by manufacturing a need to close
   26               now. Rebuttals to customers wanting to “call back” included “the
   27               government is very strict” and the “system does not allow me to keep
   28               your application open.” See Exhibit 38.
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    1        Absent aggressive real time supervision, these incentives created an
    2 atmosphere where sales agents are tempted to do whatever necessary to “close”
    3 and get their commissions and bonuses.
    4        We reviewed scripts, training materials, and sales directives found at each
    5 workstation in the Sales Department. After August 2019, the Sales Scripts were
    6 revised several times, but even the most recent Sales Script – October 21, 2019
    7 (Exhibit 11) – may confuse consumers about the services and the related fees, and
    8 creates the impression that fees paid to Defendants would be credited to their loan.
    9 This confusion is reflected in consumer complaints. See Section VI.F
   10 “Complaints” below.
   11        C.     Enrollment Fees
   12        “Enrollment Fees” (now called “Initial Fees”) were a key component of the
   13 sales process and engendered significant confusion among customers. The most
   14 recent schedule includes three tiers based on the customers student loan balance.
   15 The “Initial Fee” was set at $1,545 (loan balance above $40,000), $1,395 (loan
   16 balance $25,000-$40,000), and $1,245 (loan balance $9,000 – $25,000).30 The
   17 standard payment plan was five monthly payments (six with manager approval).
   18 Consumers who agreed to immediately pay in full were rewarded with a $100
   19 discount and sales advisors received bonuses. The fee structure with the
   20 corresponding monthly payment amounts and related commissions were published
   21 in materials and on white boards around the office. See Exhibit 36.
   22        All customers were also charged a recurring monthly “recertification fee”
   23 ($22, $32, or $42) as required by most repayment plans. This recertification fee
   24 created residual monthly cash flow for Defendants with no immediate benefit to
   25 the customer and was paid out well before the annual recertification application
   26 was actually prepared or even due.
   27   30
         Fee amounts have varied over time with $1,750 being the highest level we
   28 identified.
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    1         Fee payment schedules were entered into DebtPayPro and monthly auto
    2 payments were pulled from customer accounts. The recertification fee was
    3 scheduled to be charged in the month after receipt of the final payment on the
    4 Initial Fee.31
    5         D.       Customer Service and Processing
    6         At the time of the TRO, customer service operated from the 173 Technology
    7 Drive site. In early October 2019, Defendants actually laid off the entire
    8 processing department as a prelude to outsourcing processing functions to an
    9 offshore vendor.32
   10         The Customer Service Team was primarily tasked to handle complaints from
   11 consumers, the BBB, and regulators. Internal protocols emphasized, however, that
   12 representatives were to answer the phone generically as “customer
   13 service/customer support” and to give the appearance of being a “third party.” 33
   14         Scripts and instructions found on site confirmed complaints were a big part
   15 of the business. Written instructions found in Customer Service cubicles identified
   16 two primary goals (1) retain the customer by resolving the issue and (2) mitigate
   17 the fallout from customers likely to complain to outsiders. “Retention Policies”
   18
        31
   19    For example, the DPP file for customer L. Burdick (loan balance $40,303)
      shows enrollment on October 4, 2019 with the Initial Fee of $1,245 scheduled out
   20 at 5 monthly payments of $249 commencing October 4, 2019, completing
      February 4, 2020, and the $42 monthly recertification fee scheduled to commence
   21 March 4, 2020 and running through September 4, 2029.
        32
   22    Historically, the primary processing functions were to pick up the customer
      “file” from the sales agent once the agreement was signed. From there, processing
   23 finalized data collection on income and other matters, secured customer signatures
      on the necessary documents and commenced the processing of enrollment fees.
   24 33
         The customer service representatives were provided scripted language: “We are
   25 a third party customer service department that takes care of customer support for
      many different companies. It looks like you have been working with (insert
   26 appropriate name here: SL Account Management, Premier Student Loan Center,
      Financial Preparation Services, Financial Loan Advisors, and Tangible Saving
   27 Solutions.).” They were also instructed not to acknowledge any of Defendants’
      name changes or that customer service was part of any of those companies. See
   28 Exhibit 39.
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    1 directed that full refunds be given to consumers likely to complain to the BBB,
    2 regulators, or enforcement authorities. See Exhibit 40.
    3         Customer Service also maintained a list of 20 “Disposition Codes” which
    4 highlight the level of customer confusion. These codes included “Fees not
    5 Explained to Me,” “Program not Explained Correctly,” and “Payments did not go
    6 toward my Student Loan Payment.” See Exhibit 41.
    7         During September and October 2019, a primary activity at the Technology
    8 Drive site was a reverification campaign supposedly designed to confirm the data
    9 on more than 40,000 files and have customers sign new documentation. This
   10 campaign was implemented by personnel from Junior Processing, Customer
   11 Service, and approximately 30 temporary workers who made outbound calls to
   12 customers based on a script. After verifying identity, the customer was directed to
   13 a website to verify and initial a series of compliance questions and provide fresh
   14 signatures on documents signed at their original enrollment. This campaign also
   15 introduced customers for the first time to Trusted Account Services and directed
   16 them to sign a contract with Trusted Account Services.34, 35
   17
   18   34
        In this regard, the reverification script included Compliance Questions,
   19 Paragraph 10 of which provides:
   20         • “Do you understand that your monthly recertification assistance fee to us
                will be placed into your own Dedicated Client Account held for your
   21           benefit until we successfully complete our work for you?”
   22         • “You are making payments for our fees to your own Dedicated Client
                Account held by a non-related company (like a trust account) until
   23           your program is finalized and complete.”
   24         • “To fully emphasis we do not take upfront fees. That means that until
                your program is approved any payments you are making are going into a
   25           separate trust account for you until you are placed in the program initially
                outlined with the payment details initially discussed.”
   26
        See Exhibit 42 (Emphasis added).
   27   35
        Notably, Defendants unilaterally transferred all customer payment processing to
   28 Trusted Account Services in September 2019 without customer consent.
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    1         In their recent filings, Defendants cite a supposed 96% success rate in the
    2 reverification campaign as evidence that their customers were fully satisfied and
    3 re-executed agreements willingly. See, e.g., Defendants’ Response re: OSC at 8-9
    4 (citing Balestreri Decl. ¶ 12 & Ex. F). They claim this high success rate for the
    5 3,252 reverifications is “more statistically significant and a more accurate picture”
    6 than the customer complaints relied on by the CFPB because Defendants’
    7 “sampling of customers is random.” Id. at 8. This success figure is astounding and
    8 suspect, particularly in a business with a 70% customer cancellation rate.
    9         My investigation indicates, however, that the reverification campaign was
   10 not an objective scientific process confirming universally happy customers.
   11 Rather, it was a hastily organized exercise using temporary employees with little
   12 training to retroactively confirm data in old files, guided by a script that required
   13 more than 90 minutes of talk time to complete. In addition, Defendants’
   14 “sampling” does not appear random at all, but instead it appears Defendants
   15 cherry-picked the initial files to be reverified in order to achieve a higher success
   16 rate. Notes we found in the office of Mr. Ortiz, the head of Junior Processing,
   17 from a September 20, 2019 meeting with customer service managers Christian
   18 Sangalang and Adon Janse indicate that Mr. Ortiz’s team was assigned 2,800 files
   19 designated “High priority.” All of these had small “FS (family size),” between 1
   20 and 5 members, thus reducing the likelihood of prior family size inflation. The
   21 notes indicate that Mr. Janse stated that approximately 2% of these files “have
   22 issues” and that “Most clients will sign.” See Exhibit 43.
   23         Defendants also suggest that the reverification campaign reflected a
   24 “random” sampling of calls coming into customer service. This is, however,
   25 belied by the reverification scripts which state: “I am calling you today on a
   26 recorded line to ensure the accuracy of all details on your account. We are
   27 contacting all our existing clients to complete a routine follow up as part of our
   28 ///
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    1 newly required compliance policies and procedures.”36 See Exhibit 42.
    2         E.      Compliance
    3         Compliant practices did not come naturally to Defendants. Compliance
    4 concerns and procedures before the August pivot were sporadic. Beginning
    5 August, 2019, however, compliance efforts were upgraded, including:
    6              • The zero tolerance policies first announced in the August 27, 2019
    7                 Memo, were re-stated in various other formats. See Exhibit 44.
    8              • New Hires were run through a week of day-long training and
    9                 education sessions. See Exhibit 45.
   10              • The basic Sales Script was updated and revised multiple times
   11                 resulting in the current version of October 21, 2019. See Exhibit 11.
   12              • The 4 training rooms at the Laguna Canyon site, each outfitted with 4
   13                 workstations, were updated with new directives and information
   14                 posted above each workstation, including Rebuttals, Doc. Assistance,
   15                 File Accuracy, and Verbal Consent. See Exhibit 46.
   16         These are representative, but not exhaustive examples of compliance efforts
   17 after the August pivot. These moves were in the right direction, although some
   18 elements could be described as window dressing. Regardless of motivation or
   19 sincerity, however, compliance was on Defendants’ radar, beginning in August
   20 2019.
   21         F.      Complaints
   22         The ultimate gauge of whether consumers are confused or feel misled is to
   23 review the flow of complaints generated by those consumers. Defendants suggest
   24 that the August pivot has resulted in a compliant operation and claim a
   25
        36
   26    Customer service representatives were instructed that they could conduct the
      reverification during regular customer service calls, but when customers called
   27 with concerns about withdrawals made by a new entity (Trusted Account Services)
      they were told they would be receiving separate calls to reverify their information
   28 and sign contracts with Trusted Account Services.
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    1 96% satisfaction rate by customers contacted in the reverification campaign.
    2 While we did not have the time or resources to statistically sample all the data, we
    3 do have the ability to get a sense of the situation by reviewing Defendants’
    4 customer contacts post-pivot.
    5         We identified a Trusted Account Services email box
    6 studentloanmgmt@trustedaccountservices.com established around October 13,
    7 2019. Defendants controlled and monitored this email box. Defendants’
    8 employees reviewed and responded (as necessary) to customer inquiries.37 This
    9 has given us a discrete stream of inquiries to review – some 400 emails delivered
   10 since October 13 – which again, is obviously after the Defendants’ August pivot.
   11         We identified approximately 250 informational inquiries (e.g., requests for a
   12 return call or email, requests to update payment information, inquiries about the
   13 status of consumers’ application or the recertification process, etc.). One customer
   14 stated he was satisfied with Defendants’ service, but then asked for clarification
   15 why FedLoan was asking him for a large payment, thinking that the monthly $40
   16 payment handled his obligation.
   17         We identified approximately 150 troubling customer contacts – complaints
   18 of one kind or another. Some examples follow:
   19            • “The payments that are being taken each month are not the payments I
   20               agreed to and not an amount I can manage. I need to hear back from
   21               someone asap and get this resolved.” See Exhibit 47.
   22            • “If I’m paying $40/month, WHY has my student loan increased from
   23               $52k to $54k? . . . Instead of paying $52k to Nelnet, at the end of 240
   24               payments, I will pay a total of $10,555 to Premier Student Loans?
   25               Will the balance be expunged from my financial obligation?” See id.
   26
        37
   27    We have not yet been able to canvas all Defendants’ email accounts and
      therefore have not identified all mailboxes which might be receiving customer
   28 inquiries and complaints.
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    1           • “I have spoken to Navinet - who hlds my student loan perNavinet they
    2              have nothing from you concerning my student loan and they are now
    3              delinquent. I need answer’s and I am stoping Payment.” See id.
    4           • “This is a scam and I want all of my money returned or I am prepared
    5              to legal action. My student loans are still showing up as unpaid on my
    6              credit report.” See id.
    7           • “If I am going through this organization for my student loans, and if
    8              you are charging me $42.00 per month, I have two questions that are
    9              confusing me?
   10              1. My loan amount has increased by $5,000 since I turned my
   11              information over to you.
   12              2. Fed Loan just sent me an email saying they are going to deduct
   13              $131 from my account each month starting November.
   14              Can someone please explain all of this to me, and why did my amount
   15              increase?” See id.
   16           • “This is a scam. You’ve been reported. Stop contacting me.” See id.
   17           • “STOP TAKING THE AUTOMATIC PAYMENT IMMEDIATELY.
   18              I WANT A REFUND. The Department of Education called me – you
   19              are a fraud!” See id.
   20           • “I am just trying to figure out why I am still receiving bills from
   21              fedloan. They are saying I am behind and that i am not paying. I was
   22              told that I wouldn’t have to worry about them once I sign on with you
   23              guys. Can you please explain.” See id.
   24           • “This service was set up to help me with the payments at FEDLOAN
   25              SERVICING. I keep getting emails and phone calls saying my
   26              account is past due. Are the payments you’re pulling from my
   27              account not being sent to the FEDLOAN SERVICING?” See id.
   28
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    1             • “Who is this payment going to? I just logged into my FEdloan
    2                Servicing Account, and none of my $40 monthly payments are
    3                showed as posting to my actual student loans. I am wondering who I
    4                am paying?” See id.
    5             • “Why am I paying y’all money and fed loan servicing is reporting
    6                missed payments to the credit bureaus. It’s messing up my credit
    7                score and I really do not need that.” See id.
    8             • “Is Navient aware that I am paying my student loans through this
    9                company now?” See id.
   10         The volume of complaints (roughly 150) compared to the number of
   11 customer contacts (roughly 400) is very high – 40% of the people who contacted
   12 Defendants through the email box had a complaint. This paints a far different
   13 picture of customer satisfaction than that presented by the purported
   14 96% satisfaction rate in the reverification campaign. And these are customer
   15 initiated contacts, rather than outreach instituted by a reverification campaign.
   16         Beyond the volume of complaints, the content of the complaints is troubling.
   17 The complaint themes are consistent with the consumer declarations and the
   18 allegations made by the Plaintiffs. Pre-pivot or post-pivot, Defendants’ sales
   19 materials and tactics have left consumers confused and feeling misled, particularly
   20 about Defendants’ services, their fees, and whether the fees reduced their loan
   21 balances.
   22                                          VII.
   23                            FINANCIAL INFORMATION
   24         The Receiver’s forensic accountant, Lisa Jones, has prepared a Receivership
   25 Initial Account Records Review report based on available Receivership Defendant
   26 records which is attached as Exhibit 5.
   27 ///
   28 ///
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    1                                        VIII.
    2                     CAN THE BUSINESSES BE OPERATED
    3                        LAWFULLY AND PROFITABLY?
    4        Section XIII(O) (at page 23) of the TRO directs and authorizes the
    5 Temporary Receiver to continue and conduct the business of Receivership
    6 Defendants “conditioned on the Receiver’s good faith determination that the
    7 business can be lawfully operated at a profit using the Assets of the Receivership
    8 Defendants’ estate.” I conclude that the business cannot.
    9        These defendants chose to operate a highly-regulated and revenue-
   10 challenged business. The product is not unique or proprietary. The marketing
   11 costs to secure and retain customers are high, compounded by very high
   12 cancellation rates. Operating expenses, including commission for sales personnel,
   13 are high. And the TSR prohibits the collection of fees until the work is completed
   14 and the consumer makes the first payment.
   15        Even if Defendants were to activate a legitimate third party provider of
   16 dedicated accounts and fully comply with the TSR escrow exception, the impact on
   17 cash flow and sustainability would be enormous, all with the added administrative
   18 costs of the escrow procedure itself. And the business would still face the
   19 compliance challenges, and related new expenses, to re-invent a sales process free
   20 of tactics and procedures that leave consumers feeling confused and misled.
   21 Dated: November 1, 2019
   22
                                             By: /s/ Thomas W. McNamara
   23                                          Thomas W. McNamara
                                               Temporary Receiver
   24
   25
   26
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    1                            CERTIFICATE OF SERVICE
    2         I hereby certify that on the 1st day of November 2019, I caused the foregoing
    3 to be electronically filed with the Clerk of the Court using the CM/ECF system,
    4 which will send notification of the filing to all participants in the case who are
    5 registered CM/ECF users.
    6
    7  /s/ Edward Chang
      Edward Chang
    8 Attorney for Temporary Receiver,
      Thomas W. McNamara
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                                                            Case No. 8:19-cv-01998-JVS (JDEx)
                                                                  CERTIFICATE OF SERVICE
